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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                              CASE NO.: 21-cv-61848-COOKE/HUNT


      JIM ANTONIO ALERS, on his own behalf,
      and on behalf of those similarly situated,

           Plaintiff,
      v.

      ROBINHOOD FINANCIAL LLC, et al.,

           Defendants.
                                                   /

                         NOTICE OF FILING AMENDED PROPOSED ORDER

              PLEASE TAKE NOTICE that Defendant Apex Clearing Corporation files an amended

  proposed Order Granting Motion to Appear Pro Hac Vice, Consent to Designation and Request to

  Electronically Receive Notices of Electronic Filing to correct the email address for attorney J.

  Mark Gidley listed in ECF No. 22-2.1

  Dated: September 22, 2021                            Respectfully submitted,

                                                       /s/ Angela D. Daker
                                                       Angela D. Daker
                                                       Florida Bar No. 681571
                                                       adaker@whitecase.com

                                                       WHITE & CASE LLP
                                                       200 S. Biscayne Blvd., Suite 4900
                                                       Miami, FL 33131
                                                       Tel.: (305) 371-2700
                                                       Fax: (305) 358-5744
                                                       Counsel for Defendant Apex Clearing Corp.


  1
   Apex Clearing Corporation has not yet responded to the Complaint in this matter. In filing this
  Notice, Apex Clearing Corporation does not waive, and instead expressly preserves, all rights,
  privileges, immunities, affirmative defenses, and other defenses, including all defenses based
  upon the lack of personal jurisdiction over it.
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                                  CERTIFICATE OF SERVICE
         I hereby certify that, on September 22, 2021, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record via transmission of Notices of Electronic Filing generated

  by CM/ECF.

                                                       By: /s/ Angela D. Daker
                                                              Angela D. Daker
